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UNITED STATES DISTRICT COURT
ARIZONA — PHOENIX

 

 

- January 5, 2021
USA v. Eric J. Miller | Case Number: 20-05304MJ-002-PHX-DMF
ORDER SETTING CONDITIONS OF RELEASE FED __ L000

__ RECEIVED ———crey
J PERSONAL RECOGNIZANCE
[1 AMOUNT OF BOND: JAN .5 2020
1 UNSECURED
1] SECURED BY: of PE A
SECURITY TO BE POSTED BY: DA

NEXT APPEARANCE: or as directed through counsel
LC] 401 West Washington St., Phoenix, AZ, Courtroom # ; Floor

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IT Is ORDERED that defendant is subject to the following conditions and shall:

promise to appear at all proceedings as required and to surrender for service of any sentence imposed.

XI not commit any federal, state or local crime.

Xl cooperate in the collection of a DNA sample if the collection is authorized by 42 U.S.C. § 14135a.

Xl IMMEDIATELY advise his/her attorney and Pretrial Services, in writing, PRIOR to any change in

residence address, mailing address and telephone number.

maintain or actively seek employment (combination work/school) and provide proof of such to Pretrial
Services.

not travel outside of Arizona unless PRIOR Court or Pretrial Services permission is granted to do so.
Xx avoid all direct or indirect contact with persons who are co-defendants. . <

Xx shall report as directed to the U.S. PRETRIAL SERVICES 1-800-769-7609 or 602-322-7350; 401 W.
Washington St., Suite 260, Phoenix, AZ 85003.

Xl surrender all travel documents to Pretrial Services by January 8, 2021 and shall not obtain a passport or
other travel document during the pendency of these proceedings.

& maintain weekly contact with his/her attorney by Friday, noon of each week.

ADVICE OF PENALTIES AND SANCTIONS

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest,.a revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for
contempt of court and could result in imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not
more than ten years and for a federal misdemeanor offense the punishment is an additional prison term of not
more than one year. This sentence will be consecutive (i.e., in addition) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal
investigation; tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness,
victim, or informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or officer of the
court. The penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a
killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve
a sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed.
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If you are convicted of:
(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more
— you will be fined not more than $250,000 or imprisoned for not more than 10 years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years —
you will be fined not more than $250,000 or imprisoned for not more than five years, or both;
(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or
both;
(4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or
both.
A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other
sentence you receive. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of Defendant

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I
promise to obey all conditions of release, to appear as directed, and to surrender for service of any sentence
imposed. I am aware of the penalties and sanctions set forth above.

 

DATE: NON
Is/2

 

 

 

 

! Custodian agrees to (a) supervise the defendant in accordance with all conditions of release, (b) to use
every effort to assure the appearance of the defendant at all scheduled court proceedings, and to notify the court
immediately in the event the defendant violates any condition of release or disappears. We, the undersigned, have
read and understand the terms of this bond and conditions of release and acknowledge that we are bound by it until
duly exonerated.

 

SIGNATURE OF CUSTODIAN(S)

 

 

 

Directions to United States Marshal:
The defendant is ORDERED released after processing.

[] The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge
that the defendant has posted bond and/or complied with all other conditions for release. If still in custody, the
defendant must be produced before the appropriate judge at the time and place specified.

DATE: January 5, 2021

 

Michelle H. Burns
United States Magistrate Judge

USA, PTS/PROB, USM, DEFT, DEFT ATTY
